Case 2:13-cr-00787-SDW      Document 3       Filed 12/26/13   Page 1 of 1 PageID: 9




                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY
                     UNITED STATES v. LAQUAN REED
                               PETITION
                                 FOR
                         WRIT OF HABEAS CORPUS

1. Laquan Reed, DOB 04/20/89, FBI# 8144CC1, is now confined at Northern
State Prison.
2. Said individual will be required at Newark, New Jersey, at the United States
District Court before the Honorable Susan D. Wigenton, U.S. District Judge,
on Monday, January 6, 2014 at 11:00 a.m., for arraignment for the above-
captioned matter. A Writ of Habeas Corpus should issue for that purpose.

DATED:         December 24, 2013              /5/ MICHAEL H. ROBERTSON
                                             Michael H. Robertson
                                             Assistant U.S. Attorney
                                             Petitioner
                                0RDE R            .


       Writ

DATED:            h                   Hon. Susa D. Wigenton
                                      United States District Judge

                      WRITQI HABEASCORPUS
The United States of America to Warden of the Northern State Prison, WE
COMMAND YOU that you have the body of
                 Laquan Reed, DOB 04/20/89, FBI# 8144CC1
now confined at Northern State Prison, be brought to the United States
District Court, before the Honorable Hon. Susan D. Wigenton, U.S.D.J., in
Newark, NJ on Monday, January 6, 2014 at 11:00 a.m., so that he may
appear for appointment of counsel for the above-captioned matter.
Immediately upon completion of the proceedings, defendant will be returned
to said place of confinement in safe and secure conduct.
              WITNESS the Honorable Hon. Susan D. Wigenton
                          United States District Judge
                          Newark, New Jersey.

DATED:           zL.   ç&     2O/j WILLIAM T. WALSH
                                      Clerk of the U.S. District Court
                                      for the D)strict of New Jersey
                                      Per:     D%i            .


                                              Deputy Clerk
